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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                 Fort Lauderdale Division

  BLUE HORIZON INNOVATIONS LLC, a
  Florida Limited Liability Company, and
  DAVID L. FRANK, an individual,

         Plaintiffs,
  v.                                                  Case No. ________________________

  NEXTGEN FINANCIAL LLC, a New Jersey
  Limited Liability Company, and R. DANIEL
  GENTLES, an individual,

        Defendants.
  ____________________________________/

                                            Complaint

                                     Substance of the Action

        1.      This is an action for a declaratory judgment under Rule 57 of the Federal Rules of

 Civil Procedure and Sections 2201 and 2202 of the Judiciary and Judicial Procedure Codes to

 determine an actual, ripe controversy between the parties regarding membership interests in

 Plaintiff Blue Horizon Innovations LLC (“BHI”).

                                     Jurisdiction and Venue

        2.      This Court has jurisdiction under 28 U.S.C. § 1332 as there is complete diversity

 of citizenship between the parties and the amount in controversy is greater than $75,000.

        3.      Venue is proper in this district under 28 U.S.C. § 1391(b) because a substantial part

 of the events establishing the claims occurred here.

        4.      Venue is also proper in this district as the parties agreed in writing to be governed

 and bound by the laws of the State of Florida.

        5.      Defendants are subject to this Court’s in rem jurisdiction as this case brings a


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 declaratory relief claim in a suit in rem, i.e., a quasi in rem proceeding. Defendants’ statements

 and legal claims in their written correspondence to Plaintiff as well as publicly and to third parties

 are false or, at the least, negligent, and regarding the ownership of membership interests in a

 closely-held company in Florida. In short, this case is regarding ownership interests in a Florida

 company with its principal places of business in Florida (the “Membership Interests”). The

 “Membership Interests” are within this Court’s jurisdiction.

        6.      Moreover, Defendants are subject to this Court’s specific personal jurisdiction

 under Florida’s long-arm statute, section § 48.193 of the Florida statutes, for Defendants’ conduct

 has damaged Plaintiffs in Florida. Defendants’ statements and assertions have negatively impacted

 Plaintiffs’ respective title, right, and interests in the subject company, and have caused Plaintiffs,

 in the collective sense, to incur damages in responding and defending against Defendants’ false

 and negligent statements and purported claims, as well as damage to Plaintiffs’ goodwill.

 Defendants have operated, conducted, engaged in, or carried on a business or business venture in

 Florida, and have caused injury to Plaintiffs in Florida arising out of an act or omission by

 Defendants outside Florida while they were engaged in solicitation or service activities within

 Florida.

        7.      Defendants’ actions intentionally reached Florida. They acted in a manner

 calculated to secure ownership interests in a Florida company or otherwise challenging the

 ownership rights of Plaintiffs. It was imminently foreseeable that Defendants could be haled into

 a Florida court for asserting competing claims of ownership in the subject company.

                                                Parties

        8.      Plaintiff BHI is a Florida limited liability company that maintains its principal place

 of business and carries out its core executive and administrative functions in Broward County,



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 Florida.

           9.    David L. Frank (“Mr. Frank”) is the president and a founding member of BHI and

 is an individual, over the age of majority, who resides in Florida (together BHI and Mr. Frank are

 referred to as “Plaintiffs”).

           10.   Upon information and belief, Defendant NextGen Financial LLC, (“NextGen”) is

 a New Jersey Limited Liability company that maintains its principal place of business in New

 Jersey.

           11.   Defendant R. Daniel Gentles (“Mr. Gentles”) is an individual, over the age of

 majority, who resides in New Jersey and is otherwise sui juris (together NextGen and Mr. Gentles

 are referred to as “Defendants”). Mr. Gentles purports to be the President of NextGen.

                                 Facts Common to all Claims for Relief

           12.   BHI has a successful and lucrative corporate structure and operation. It is engaged

 in the research and development of Dielectric Energy Storage Technology and the Dense Energy

 Ultra-Cell, which are used in connections with electric vehicles, wind and solar power, energy

 storage, commercial and residential building back up, smart devices, and other products or

 services. BHI has been awarded numerous USPTO patents and international patents for its

 Dielectric Energy Storage Technology and the Dense Energy Ultra-Cell.

           13.   Mr. Frank is the president and sole Board Member owning seventy-six (76%) of

 the membership interest in BHI.

           14.   On or about May 23, 2015, BHI offered NextGen a Consulting Agreement, under

 which Next Gen would serve as an outside “technical consultant to the Company for an initial

 period of one year ending on December 31, 2016, or extended based on a written agreement by

 both parties.” Consulting Agreement at introductory paragraph; emphasis added. A true and



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 correct copy of the Consulting Agreement is attached as Exhibit 1.

        15.     On or about May 23, 2015, NextGen, through its principal, Mr. Gentles, accepted

 the offer in writing. A true and correct copy of the Email of Acceptance is attached as Exhibit 2.

        16.     Importantly, the Consulting Agreement further stated that “[s]hould the Consultant

 not introduce an acquisition candidate and not complete an acquisition of the Company before

 December 31, 2016. the Membership Units provided under this Agreement are declared null and

 void.” Exhibit 1 at introductory paragraph.

       17.      Paragraph 3 of the Consulting Agreement, provided that Consultant would receive

 100,000 Membership Units in BHI as conditional compensation, but (1) expressly limited the

 provision of such Membership Units to only be valid “should Consultant introduce and complete

 an acquisition of the Company before December 31, 2016,” and (2) reiterated that the Membership

 Units “are declared void” if there is no completed acquisition of BHI by December 31, 2016.

        Consultant shall receive 100,000 Membership Units of BHI stock, up front, that
        will serve as payment of services should Consultant introduce and complete an
        acquisition of the Company before December 31, 2016. The 100,000 Membership
        Units are declared void if the Consultant does not complete an acquisition of the
        Company by December 31, 2016. These Membership Units are founders shares
        and the voting rights associated with these shares are not granted to the
        Consultant and are retained by the Founder. (Consulting Agreement, ¶ 3, Exhibit
        1 (emphasis in original)).

        18.     BHI, NextGen was hired as an independent contractor of BHI under the limitations

 of the Consulting Agreement.

        19.     Pursuant to the Consulting Agreement, NextGen was tasked with introducing

 qualified strategic investors for acquisition of BHI and introducing large-scale strategic customers

 for sales of company products.

        20.     NextGen was never an employee of BHI.

        21.     Mr. Gentles in his individual capacity was never an employee, or independent


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 contractor of BHI. Mr. Gentles is a representative of NextGen and purports to be the President of

 NextGen.

        22.     On or about June 1, 2015, pursuant to the terms of the Consulting Agreement, a

 membership certificate for 100,000 Membership Units was issued in the name of Mr. Gentles upon

 Mr. Gentles’ and NextGen’s request (the “Membership Certificate”). Exhibit 3 hereto is a copy of

 the Membership Certificate provided to Defendants (except after December 31, 2016, writing has

 been added to state that it became void on January 1, 2017, consistent with the Consulting

 Agreement). The Membership Units referenced in the Membership Certificate were “Founders

 Shares” that were transferred from Plaintiff David Frank to Mr. Gentles.

        23.     NextGen did not at any point successfully introduce a buyer that completed an

 acquisition of BHI.

        24.     On October 10, 2016, Plaintiffs sent Defendants a letter again declaring that,

 pursuant to the Consulting Agreement, “[o]n January 1, 2017 the 100,000 BHI Membership Units

 certificate will become void should the Consultant not provide a viable candidate and complete an

 acquisition of the Company or Technology by December 31, 2016.” A true and correct copy of

 this letter is attached hereto as Exhibit 4.

        25.     On December 31, 2016, pursuant to its terms, the Consulting Agreement ended.

        26.     The Consulting Agreement was never renewed or extended in any regard, let alone

 in a written agreement as would be required for any renewal or extension to be valid. The parties

 did not execute any subsequent agreements or exchange any writings referencing an extension of

 the Consulting Agreement.

        27.     Because the Consulting Agreement ended and no acquisition occurred, pursuant to

 the terms of the Consulting Agreement, the Membership Certificate, and the transfer of



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 Membership Units it referenced became void. As such, the 100,000 Membership Units referenced

 in the Membership Certificate belong to Mr. Frank, and not Mr. Gentiles or NextGen.

         28.     Plaintiffs maintain that neither Mr. Gentles nor NextGen is an owner(s) of BHI or

 owns any Membership Units or interest in BHI.

         29.     Defendants have on many occasions contacted staff and members of BHI and Mr.

 Frank, in Florida, and alleged a false claim of membership or ownership in BHI.

         30.     Upon information and belief, Defendants have also made false statements of

 membership or ownership in BHI to other third parties, including potential investors in BHI.

         31.     As a result of Defendants’ intentional or negligent false claims of ownership,

 Plaintiffs have been damaged in having to respond, and defend against the claims and statements,

 including the cost of legal counsel relating to same, and upon information and belief, are at

 significant risk of losing potential investors.

         32.     The membership interest at issue is extremely valuable and is believed to have a

 value in excess of $30,000,000. Plaintiffs have otherwise been damaged.

         33.     All conditions precedent to bringing the instant action have occurred, been

 performed, and/or have otherwise been excused, satisfied or waived.

       Count 1 – For Declaratory Judgment that the Consulting Agreement Expired, the
  Membership Certificate and Founding Shares Transfer are Void, and Defendants Have No
                            Ownership or Membership in BHI

         34.     Plaintiffs adopt and incorporate ¶¶ 1-33 in haec verba.

         35.     Defendants never performed the services required for either Defendants to receive

 100,000 Membership Units of BHI pursuant to the Consulting Agreement. Specifically,

 Defendants never introduced a buyer who completed an acquisition of BHI.

         36.     The Consulting Agreement expired on December 31, 2016.



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        37.     Without an extension or amendment to the Consulting Agreement, the Consulting

 Agreement is no longer binding and of no further effect on the Parties.

        38.     Because Defendants had not performed the conditions required for NextGen (or

 Mr. Gentles) to receive 100,000 Membership Units of BHI, under the Consulting Agreement, the

 Membership Certificate became void, pursuant to Consulting Agreement.

        39.     There is a bona fide, actual, present practical need for the declaration that (1) the

 Consulting Agreement expired on December 31, 2016, and is of no effect upon Plaintiffs or

 Defendants, (2) the Membership Certificate and Founding Shares transfer referenced therein in the

 name of Mr. Gentles are void, and (3) Defendants have no ownership or membership in BHI.

        40.     The declaration deals with a present controversy as to a state of facts as Defendants

 contend to have rights to an ownership or membership interest in BHI pursuant to the Consulting

 Agreement and the Membership Certificate.

        41.     Plaintiffs’ rights to their interest and control of BHI’s membership interest depends

 upon these facts.

        42.     Defendants have asserted an actual, present, adverse and antagonistic interest in the

 subject matter (i.e., the BHI ownership or membership interest).

        43.     These antagonistic and adverse interests are all before the Court by proper process.

 Moreover, this claim is in the nature of a quasi in rem proceeding, as it regards to ownership of a

 company with its principal place of business in Florida and which is organized under Florida law.

 Plaintiffs are in Florida, and their respective rights and title are affected here in Florida by

 Defendants’ statements and actions.

        44.     Plaintiffs’ relief sought is not merely giving of legal advice by the Court or the

 answer to questions propounded from curiosity.



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        WHEREFORE, Plaintiffs requests this Court enter judgment:

        A.      Declaring that the Consulting Agreement expired on December 31, 2016, and is of

 no further effect to either NexGen or BHI, and BHI has no obligation to either NexGen or Mr.

 Gentles under the Consulting Agreement;

        B.      Declaring that the Membership Certificate and Founding Shares transfer referenced

 therein in the name of Mr. Gentles are void and of no validity, including with regard to Defendants

 claim of interest in BHI;

        C.      Declaring that Defendants have no ownership or membership interest in BHI;

        D.      Awarding Plaintiffs’ costs; and

        E.      Awarding Plaintiffs such other and further relief as the Court deems just and proper.

 Dated: June 30, 2021.                                Respectfully submitted,

                                                      /s/ Anny M. Martin
                                                      Anny M. Martin (F.B.N.1000491)
                                                      amartin@pbyalaw.com
                                                      Benjamin L. Reiss, Esq. (F.B.N. 985643)
                                                      breiss@pbyalaw.com
                                                      PERLMAN, BAJANDAS,
                                                      YEVOLI & ALBRIGHT, P.L.
                                                      283 Catalonia Avenue, Suite 200
                                                      Coral Gables, Florida 33134
                                                      Telephone: (305) 377-0086
                                                      Facsimile: (305) 377-0781
                                                      eservicemia@pbyalaw.com
                                                      Attorneys for Plaintiffs




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